Case 2:15-bk-54242                  Doc 45         Filed 10/19/17 Entered 10/19/17 16:18:38                                   Desc Main
                                                   Document     Page 1 of 2


B 210A (Form 210A) (12/)



                         UNITED STATES BANKRUPTCY COURT
                                                SouthernDistrict
                                            __________   District Of
                                                                  of Ohio
                                                                     __________

In re ________________________________,
      Steven R. Szanyi                                                                            Case No. ________________
                                                                                                            15-54242




                    TRANSFER OF CLAIM OTHER THAN FOR SECURITY
A CLAIM HAS BEEN FILED IN THIS CASE or deemed filed under 11 U.S.C. § 1111(a). Transferee
hereby gives evidence and notice pursuant to Rule 3001(e)(2), Fed. R. Bankr. P., of the transfer, other
than for security, of the claim referenced in this evidence and notice.



  MTGLQ Investors, LP
______________________________________                                       Select Portfolio Servicing, Inc.
                                                                            ____________________________________
          Name of Transferee                                                           Name of Transferor

Name and Address where notices to transferee                                Court Claim # (if known):      4
should be sent:                                                             Amount of Claim:      $106,995.85
   5XVKPRUH/RDQ0DQDJHPHQW6HUYLFHV                                        Date Claim Filed:      08/17/2015
   32%R[
   ,UYLQH&$
Phone: ______________________________                                       Phone: 1-800-258-8602
Last Four Digits of Acct #: ______________
                                 8381                                       Last Four Digits of Acct. #: __________
                                                                                                             9370

Name and Address where transferee payments
should be sent (if different from above):
 5XVKPRUH/RDQ0DQDJHPHQW6HUYLFHV
 32%R[
 ,UYLQH&$
Phone: 888-504-6700
Last Four Digits of Acct #:    8381



I declare under penalty of perjury that the information provided in this notice is true and correct to the
best of my knowledge and belief.

By:__________________________________
    /s/LeAnn E. Covey                                                       Date:____________________________
                                                                                  10/19/2017
        Transferee/Transferee’s Agent


Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 & 3571.
Case 2:15-bk-54242       Doc 45     Filed 10/19/17 Entered 10/19/17 16:18:38           Desc Main
                                    Document     Page 2 of 2


                                 CERTIFICATE OF SERVICE

I hereby certify that a copy of the foregoing Notice of Claim Other Than for Security was served

(i) electronically on the date of filing through the court’s ECF System on all ECF participants

registered in this case at the email address registered with the court and

(ii) by ordinary U.S. Mail on October 19, 2017 addressed to:



Steven R. Szanyi
3983 Poppysead Ct.
Columbus, OH 43207




                                                   /S/ LeAnn E. Covey
                                                   LeAnn E. Covey, Esquire
